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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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      SON PHAM,

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                           Petitioner,
                                                               No. C16-974RSL
11
                    v.

12
      UNITED STATES OF AMERICA,                                ORDER GRANTING MOTION
                                                               TO VACATE, SET ASIDE, OR
13
                           Respondent.                         CORRECT A SENTENCE BY A
                                                               PERSON IN FEDERAL CUSTODY
14
            This matter comes before the Court on petitioner’s “Motion Under 28 U.S.C. § 2255 to
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     Vacate, Set Aside, or Correct a Sentence by a Person in Federal Custody.” Dkt. # 1. In March
16
     2014, petitioner was sentenced to 72 months’ imprisonment for violating 18 U.S.C. § 924(c).
17
     This sentence was based on the conclusion that petitioner’s other conviction (under 18 U.S.C.
18
     § 894(a)(1)) was for a “crime of violence.” Petitioner now seeks resentencing in light of the
19
     Supreme Court’s recent decisions in Johnson v. United States, __ U.S. __, 135 S. Ct. 2551
20
     (2015), and Welch v. United States, 136 S. Ct. 1257 (2016). The United States does not oppose
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     petitioner’s motion. Dkt. # 5.
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            Accordingly, petitioner’s motion to vacate, set aside, or correct his sentence is
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     GRANTED. The Court will contact the parties to schedule resentencing.
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26
     ORDER GRANTING MOTION TO
27   VACATE, SET ASIDE, OR CORRECT
     A SENTENCE BY A PERSON IN
28   FEDERAL CUSTODY - 1
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 2        DATED this 8th day of September, 2016.
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 4                                       A
                                         Robert S. Lasnik
 5                                       United States District Judge
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     ORDER GRANTING MOTION TO
27   VACATE, SET ASIDE, OR CORRECT
     A SENTENCE BY A PERSON IN
28   FEDERAL CUSTODY - 2
